Case 0:17-cv-60214-WPD Document 14 Entered on FLSD Docket 02/22/2017 Page 1 of 5



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 0:17-cv-60214-WPD

  GUS IRIZARRY,

                 Plaintiff,

  v.

  EXCELIUM MANAGEMENT, LLC, a Florida
  Limited Liability company, FAMILY OFFICE, LP,
  A Florida Limited Partnership, VINCENT CHHABRA,
  Individually and SUSHMA CHHABRA, individually,
  KEY LEGAL SERVICES, LLC, a Florida Limited
  Liability Company, and MITCHELL HAMMER,
  Individually

              Defendants.
  ______________________________________________/

                              ANSWER AND AFFIRMATIVE DEFENSES

         COME NOW, Defendants, Mitchell Hammer (“MH”) and Key Legal Services, LLC

  (“KLS”), by and through their undersigned counsel, and respond to each of the allegations in

  Plaintiff’s complaint as follow:

         1.      Denied.

         2.      Denied.

         3.      Unknown, therefore denied.

         4.      Denied.

         5.      Admitted as to MH, denied as to KLS.

         6.      Denied.

         7.      No allegations pertain to MH or KLS.

         8.      No allegations pertain to MH or KLS.
Case 0:17-cv-60214-WPD Document 14 Entered on FLSD Docket 02/22/2017 Page 2 of 5



         9.      Denied that KLS employed anyone, including MH, at any times material hereto.

         10.     No allegations pertain to MH or KLS.

         11.     No allegations pertain to MH or KLS.

         12.     Denied that KLS had an annual gross volume of sales or business in excess of

  $500,000, exclusive of excise taxes, at any times material hereto.

         13.     Denied.

         14.     Denied.

         15.     Denied.

         16.     Denied that MH or KLS ever employed Plaintiff. Admitted that Plaintiff did not

  engage in any duties for MH or KLS, exempt or otherwise. Admitted that neither MH nor KLS

  ever paid Plaintiff, because Plaintiff did not work for either defendant nor is there or was there

  ever an obligation to pay Plaintiff.

         17.     Denied.

         18.     Denied.

         19.     Denied.

         20.     Denied.

         21.     Unknown, therefore denied.

         22.     Admitted that if Plaintiff worked, he is entitled to minimum wage; denied that

  Plaintiff ever worked for MH or KLS.

         23.     No allegations pertain to MH or KLS.

         24.     Admitted that if Plaintiff worked, he is entitled to minimum wage; denied that

  Plaintiff ever worked for MH or KLS.

         25.     No allegations pertain to MH or KLS.
Case 0:17-cv-60214-WPD Document 14 Entered on FLSD Docket 02/22/2017 Page 3 of 5



          26.    Admitted that if Plaintiff worked, he is entitled to minimum wage; denied that

  Plaintiff ever worked for MH or KLS.

          27.    Denied.

          28.    Admitted that if Plaintiff worked, he is entitled to minimum wage; denied that

  Plaintiff ever worked for MH or KLS.

          29.    No allegations pertain to MH or KLS.

          30.    Admitted that if Plaintiff worked, he is entitled to minimum wage; denied that

  Plaintiff ever worked for MH or KLS.

          31.    No allegations pertain to MH or KLS.

          32.    Admitted that if Plaintiff worked, he is entitled to minimum wage; denied that

  Plaintiff ever worked for MH or KLS.

          33.    Denied.

                                FIRST AFFIRMATIVE DEFENSE

          Plaintiff fails to state a claim upon which relief may be granted.

                               SECOND AFFIRMATIVE DEFENSE

          Plaintiff’s complaint constitutes an impermissible “shotgun” pleading.

                                THIRD AFFIRMATIVE DEFENSE

          Plaintiff fails to name Law Firm Headquarters, LLC, the company which actually

  employed him from August 24, 2016 until November 8, 2016, which is an indispensable party to

  this action.

                                                        Respectfully submitted,

                                                          /s/ Paul DeCailly
                                                        Paul DeCailly
                                                        Florida Bar No. 796301
                                                        DeCailly Law Group, P.A.
Case 0:17-cv-60214-WPD Document 14 Entered on FLSD Docket 02/22/2017 Page 4 of 5



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                                          Attorneys for Mitchell Hammer
                                          and Key Legal Services LLC
Case 0:17-cv-60214-WPD Document 14 Entered on FLSD Docket 02/22/2017 Page 5 of 5



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I filed a true and correct copy of the foregoing with the

  CM/ECF system on this twentieth day of February 22, 2017, which served a copy of the

  foregoing upon Christopher J. Whitelock, Whitelock & Associates, P.A., 300 Southeast

  Thirteenth Street, Fort Lauderdale, Florida 33316, cjw@whitelocklegal.com.

                                                    Respectfully submitted,

                                                      /s/ Paul DeCailly
                                                    Paul DeCailly
